     Case 8:15-cv-02034-JVS-JCG Document 1031 Filed 08/07/20 Page 1 of 10 Page ID
                                      #:70542



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8
9                   IN THE UNITED STATES DISTRICT COURT

10
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

11
12    NATURAL-IMMUNOGENICS, a             Case No.: 8:15-cv-02034-JVS (JCG)
      Florida corporation,
13                                         JOINT PRE-TRIAL PLAN
14                      Plaintiff,         PURSUANT TO COURT ORDER
           v.
15                                         Judge: James V. Selna
16    NEWPORT TRIAL GROUP, et al.,
                                           Fact Discovery Cut-off: Dec. 31, 2017
17                     Defendants.         Expert Discovery Cut-off: Dec. 31, 2017
                                           Pretrial Conf. Date:      Feb. 22, 2021
18
                                           Trial Date:               Mar. 23, 2021
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     Case 8:15-cv-02034-JVS-JCG Document 1031 Filed 08/07/20 Page 2 of 10 Page ID
                                      #:70543



1      I.   INTRODUCTION
2           On July 24, 2020 the Court held a telephonic status conference. Dkt. 1027.
3    The Court continued the trial date in this case until March 23, 2021. Id. The Court
4    further ordered the parties to submit a joint statement to the Court identifying
5    precisely what discovery and motions each party believed were required to bring
6    this case to trial. See id. (requiring submission within ten (10) days). The Parties
7    hereby submit their respective statements.
8
9     II.   PLAINTIFF’S PORTION
10
            On March 5, 2020, the Court granted NIC leave to conduct discovery
11
     flowing from the Court’s various privilege piercing orders. Dkt. 902. The Court
12
     has also recognized that NIC would be permitted to take depositions of the NTG
13
     Defendants. Dkt. 902 at 16. NIC must complete that discovery to support motions
14
     for summary judgment. NIC summarizes below the outstanding discovery and
15
     other motions practice required to bring this case to trial.
16
17      A. Post-Privilege Discovery
18
            1. Completed Depositions and Discovery:
19
                   Defendant Taylor Demulder: Completed July 10, 2020;
20
21                 Non-Party Daniel Bobba: Completed July 22, 2020;

22                 Defendant Victoria Knowles: Completed July 31, 2020;
23
                   NIC’s Supplemental Motion to Compel Crime-Fraud Documents:
24
                   Resolved pursuant to Court Order [Dkt. 1022 (Aug. 3, 2020)].
25
            2. Remaining Depositions
26
27              a) Defendant Andrew Baslow: Scheduled for August 26, 2020

28              b) Defendant Sam Schoonover: Scheduled for August 27, 2020

                           JOINT PRETRIAL PLAN PURSUANT TO DKT. 1027
                                              -2-
     Case 8:15-cv-02034-JVS-JCG Document 1031 Filed 08/07/20 Page 3 of 10 Page ID
                                      #:70544



1             c) Non-Party Wynn Ferrell
2
              d) Defendant Andrew Nilon
3
              e) Defendant Ryan Ferrell
4
5             f) Defendant David Reid. NIC cannot take this deposition until NIC
6                receives documents related to Strataluz LLC pursuant to Dockets 820
7                and 823.
8             g) Defendant Scott Ferrell. NIC cannot take this deposition until NIC
9                receives documents related to Strataluz LLC pursuant to Dockets 820
10               and 823.
11
              h) Defendant Newport Trial Group 30(b)(6). NIC cannot take this
12
                 deposition until NIC receives documents related to Strataluz LLC
13
                 pursuant to Dockets 820 and 823. Moreover, this deposition cannot
14
                 be completed within the presumptive 7-hour limit and requires an
15
                 extension of time up to 7-hours (for a total deposition time of 14
16
                 hours). As the primary defendant in this lawsuit, NTG was involved
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                 in all alleged predicate acts, and possesses knowledge regarding all
18
                 allegations, claims, and defenses at issue in this case. This lawsuit is
19
                 complex and involves multiple defendants, dozens of RICO predicate
20
                 acts, and thousands of documents. Defendants have not agreed to
21
                 extend the presumptive limit and the parties will likely require
22
                 motions practice to resolve this dispute.
23
           3. Discovery Motions
24
                 Motion to Extend/Compel NTG Rule 30(b)(6) Deposition. As noted,
25
                 supra, unless the parties can reach an agreement, NIC may be
26
                 required to move for relief regarding the NTG Rule 30(b)(6)
27
                 deposition. That motion would include a request to extend the
28
                 deposition by an additional seven hours. NIC may also compel
                         JOINT PRETRIAL PLAN PURSUANT TO DKT. 1027
                                            -3-
     Case 8:15-cv-02034-JVS-JCG Document 1031 Filed 08/07/20 Page 4 of 10 Page ID
                                      #:70545



1                  testimony regarding certain deposition topics.
2
                   Motion for Supplemental Written Discovery. Based on testimony
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                   received at deposition (and potentially forthcoming testimony in
4
                   upcoming depositions), NIC may seek leave of Court to serve a
5
                   narrow set of written discovery requests to follow-up on information
6
                   first disclosed during depositions. Those requests, if granted, would
7
                   be limited in scope and volume, and would be tailored to new
8
                   information first disclosed at deposition. NIC will seek leave to
9
                   serve a narrow set of Requests for Admission under Rule 36(a)(1)(B)
10
                   concerning the genuineness or authenticity of certain documents
11
                   produced in discovery.
12
                   Motions to Compel under Rule 37. NIC reserves its ability to pursue
13
                   motions to compel based on responses/objections given at
14
                   depositions. However, no such motion is forthcoming at this time.
15
16      B. Motions for Summary Judgment
17
           Based on the documentary and testimonial evidence collected to date, this
18
     case is likely to be resolved on summary judgment against the Defendants in
19
     whole, or in significant part. As such, the Court and parties will benefit greatly
20
     from effective and complete summary judgment briefing. NIC therefore must
21
     complete fact discovery with sufficient time to prepare comprehensive dispositive
22
     motions before trial. Given the volume of the record in this case and the number of
23
     predicate acts at issue in the RICO count, summary judgment preparation will
24
     likely require at least 60 days and may require a page-limit extension by the Court.
25
26
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                           JOINT PRETRIAL PLAN PURSUANT TO DKT. 1027
                                              -4-
     Case 8:15-cv-02034-JVS-JCG Document 1031 Filed 08/07/20 Page 5 of 10 Page ID
                                      #:70546



1       C. Motions to Exclude Experts and Motions in Limine
2
            NIC anticipates filing motions to exclude the Defendants’ expert witnesses
3
     on various grounds. To date, NIC has moved to exclude two of Defendants’ five
4
     expert witnesses and the Court has granted, in part, each of those motions. The
5
     remaining experts are subject to complete or partial exclusion. Moreover, NIC
6
     anticipates bringing motions in limine to prevent irrelevant or unreasonably
7
     prejudicial testimony or argument from being presented to the jury. To bring this
8
     case to trial, NIC must resolve those issues on full briefing.
9
10
11   III.   DEFENDANTS’ PORTION

12
            Defendants submit the following statement with Defendants’ time table for

13
     the discovery and pretrial matters that Defendants need to complete prior to the

14   pretrial conference on February 22, 2021:1

15      A. Defendants’ Discovery to be Completed:
16
            Based on the current state of the claims and the pleadings, the only
17
     discovery that Defendants need to complete relates to (1) NTG’s Motion to
18
     Compel (Dkt. 981) and (2) NTG and Ferrell’s’ Motion for Leave to conduct
19
     discovery and to designate an additional expert regarding NIC’s new allegations
20
     about the “Lanham Act scheme” (Dkt. 1013).
21
           1. NTG’s Motion to Compel (Dkt. 981)
22
            This Motion to Compel was filed on May 11, 2020 before the Special
23
     Master (Judge Chapman) and is still pending. On August 6, 2020, the Court
24
     accepted Judge Chapman’s resignation as Special Master. (Dkt. 1029.) As a
25
            1
26            Plaintiff did not provide Defendants with Plaintiff’s statement about
27
     discovery and pretrial matters prior to preparing this combined statement.
     Accordingly, Defendants respectfully reserve all rights, especially if some or all of
28   Plaintiff’s discovery or other proposals violate a prior order from this Court and/or
     are unnecessary or not proportional to the needs of this case.
                           JOINT PRETRIAL PLAN PURSUANT TO DKT. 1027
                                              -5-
     Case 8:15-cv-02034-JVS-JCG Document 1031 Filed 08/07/20 Page 6 of 10 Page ID
                                      #:70547



1    result, this Motion to Compel will need to be reviewed by the new Special Master
2    to be appointed by the Court. Defendants anticipate that the new Special Master
3    may need approximately 30-45 days following said appointment to rule on NTG’s
4    Motion to Compel.
5          This Motion to Compel seeks the production of documents through
6    discovery that was previously authorized by this Court’s Order in Docket No. 891,
7    which allowed “NTG to serve one set of document requests to NIC and its counsel,
8    along with a records subpoena to each of the NIC witnesses[,]” relating to the three
9    false declarations that NIC filed before this Court. (Dkt. 891 at 18.) This
10   discovery is important because it refutes NIC’s claim that NTG and Ferrell
11   developed a scheme to defraud NIC in December of 2011, that “NTG did not write
12   [the demand letter to NIC] on behalf of any California consumer and did not
13   represent a valid class representative at the time,” that Trycia Carlberg was not a
14
     client of NTG at the time, and that Trycia Carlberg never used Sovereign Silver
15
     and never relied upon NIC’s false claims about Sovereign Silver. (See Dkt. 1007
16
     [NIC’s Fourth Amended Complaint] at ¶¶55-62.) This discovery is also relevant to
17
     understanding the role of NIC and its counsel in filing false declarations before this
18
     Court. This discovery is thus highly probative of material allegations by NIC in
19
     this case, as well as Defendants’ defense to those claims.
20
           If NTG’s Motion to Compel is granted, the further responses and documents
21
     will likely be ordered for production within 10 days of the issuance of a final order.
22          2. NTG and Ferrell’s Motion for Leave (Dkt. 1013):
23         This Motion for Leave was filed on June 25, 2020 and is scheduled for a
24   hearing date of August 10, 2020. This motion seeks leave for Defendants to
25   conduct additional discovery based on the new allegations and new issues raised in
26   NIC’s amended pleading, which is now the Fourth Amended Complaint (Dkt.
27   1007).2 More specifically, as it relates to the new allegations in NIC’s Fourth
28
           2
               This motion also sought leave to conduct discovery on issues relating to
                            JOINT PRETRIAL PLAN PURSUANT TO DKT. 1027
                                              -6-
     Case 8:15-cv-02034-JVS-JCG Document 1031 Filed 08/07/20 Page 7 of 10 Page ID
                                      #:70548



1    Amended Complaint, Defendants seek leave to:
2                  (1)   Designate one additional expert regarding business or corporate
3                        practices and standards, as well as marketing practices, in the
4                        health supplement industry as it relates to NIC’s new “Lanham
5                        Act scheme.” This request also acknowledges that NIC should
6                        be permitted to offer a rebuttal expert report within 30 days, and
7                        that each side should be permitted one deposition of the
8                        opposing side’s expert on those issues.
9                  (2)   Propound no more than 25 requests for admissions, 25
10                       interrogatories and 50 requests for the production of documents
11                       regarding the new allegations in NIC’s Fourth Amended
12                       Complaint.
13          Defendants believe this discovery can be completed within 60 days of the
14
     Court ruling on the Motion for Leave.
15
        B. Defendants Request a Scheduling Order for Pretrial Matters to be
16
            Completed:
17
18          Defendants request that the Court issue a Scheduling Order that sets specific
19   dates for the exchange and filing of pretrial documents in this case in accordance
20   with this Court’s preference for deadlines based on the pretrial conference date and
21   trial date.
22
23
24
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27
     NTG and Ferrell’s Amended Counterclaim (978-1), but this Court just recently
28   struck the Counterclaim (Dkt. 1028) so the request for Counterclaim discovery is
     now moot.
                           JOINT PRETRIAL PLAN PURSUANT TO DKT. 1027
                                             -7-
     Case 8:15-cv-02034-JVS-JCG Document 1031 Filed 08/07/20 Page 8 of 10 Page ID
                                      #:70549



1    RESPECTFULLY SUBMITTED:
2
3    DATED: August 7, 2020
4
5     FOR PLAINTIFF NATURAL                   FOR NTG DEFENDANTS
      IMMUNOGENICS CORP.
6
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12    Immunogenics                            Victoria Knowles, David Reid and
                                              Andrew Baslow
13
      FOR THE NON-NTG                         FOR THE ATTORNEY DEFENDANTS
14    DEFENDANTS
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20
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      Nilon, Sam Schoonover, Sam Pfleg,
21
      Giovanni Sandoval, Taylor               Attorney for Ryan Ferrell, Victoria C.
      Demulder, and Matthew Dronkers          Knowles, David Reid, and Andrew Lee
22                                            Baslow

23
           Attestation pursuant to L.R. 5-4.3.4(a)(2)(i) regarding signatures: I, Peter A.
24   Arhangelsky, attest that all other signatures listed, and on whose behalf this filing
25   is submitted, concur in the filing’s content and have authorized the filing.

26   DATED: August 7, 2020                         EMORD & ASSOCIATES, P.C.
27
                                            By:    /s/ Peter A. Arhangelsky
28                                                 Peter Arhangelsky
                           JOINT PRETRIAL PLAN PURSUANT TO DKT. 1027
                                             -8-
     Case 8:15-cv-02034-JVS-JCG Document 1031 Filed 08/07/20 Page 9 of 10 Page ID
                                      #:70550



1                            CERTIFICATE OF SERVICE
2
           I hereby certify that on August 7, 2020 the foregoing, JOINT PRETRIAL
3
     PLAN PURSUANT TO DKT. 1027 was electronically filed using the Court’s
4
     CM/ECF system and was sent by that system to the following:
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                         JOINT PRETRIAL PLAN PURSUANT TO DKT. 1027
                                           -9-
     Case 8:15-cv-02034-JVS-JCG Document 1031 Filed 08/07/20 Page 10 of 10 Page ID
                                      #:70551



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9                                                       Peter A. Arhangelsky, Esq.
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                          JOINT PRETRIAL PLAN PURSUANT TO DKT. 1027
                                           - 10 -
